             Case 2:16-cv-06051-ER Document 8 Filed 03/18/17 Page 1of4



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 LOUIS SCARANTINO, Individually and On           )
 Behalf of All Others Similarly Situated,        )
                                                 )
                       Plaintiff,                )
                                                 )   Case No. 2:16-cv-06051-ER
        v.                                       )
                                                 )
 CHEMTURA CORPORATION, CRAIG A.                  )
 ROGERSON, JEFFREY D. BENJAMIN,                  )
 TIMOTHY J. BERNLOHR, ANNA C.                    )
 CATALANO, JAMES W. CROWNOVER,                   )
 ROBERT A. DOVER, JONATHAN F.                    )
 FOSTER, JOHN K. WULFF, LANXESS                  )
 DEUTSCHLAND GMBH, and LANXESS                   )
 ADDITIVES INC.,                                 )
                                                 )
                       Defendants.               )
                                     ~
  STIPULATION AND                        ORDER CLOSING CASE FOR ALL PURPOSES

       WHEREAS, on September 26, 2016, Chemtura Corporation ("Chemtura" or the

"Company") announced that it had entered into an Agreement and Plan of Merger, dated

September 25, 2016, with Lanxess Deutschland GmbH ("Lanxess") and LANXESS Additives,

Inc. ("Merger Sub") (the "Merger Agreement"), pursuant to which Merger Sub would acquire all

of the outstanding shares of Chemtura and Chemtura stockholders would receive $33.50 per share

of Chemtura common stock (the "Transaction");

       WHEREAS, on November 4, 2016, defendants filed a Preliminary Proxy Statement (the

"Proxy Statement") with the United States Securities and Exchange Commission ("SEC") in

connection with the Transaction, which, among other things, (i) summarized the Merger

Agreement, (ii) provided an account of the events leading up to the execution of the Merger

Agreement, (iii) stated that the Chemtura board of directors determined that the Transaction was

in the best interests of Chemtura's stockholders and recommended the Transaction, and (iv)
           Case 2:16-cv-06051-ER Document 8 Filed 03/18/17 Page 2 of 4



summarized the valuation analyses and fairness opinion by Morgan Stanley & Co. LLC,

Chemtura's financial advisor;

       WHEREAS, on November 17, 2016, plaintiff Louis Scarantino ("Plaintiff') filed a

Complaint for Violation of the Securities Exchange Act of 1934 in the above-captioned action (the

"Action"), alleging that the Proxy Statement omitted material information with respect to the

Transaction and that, accordingly, defendants violated Sections 14(a) and 20(a) of the Securities

Exchange Act of 1934 in connection with the Proxy Statement;

       WHEREAS, on December 7, 2016 and January 17, 2017, defendants filed revised Proxy

Statements, which addressed and mooted Plaintiffs claims alleged in the Action (the

"Supplemental Disclosures");

       WHEREAS, on February 1, 2017, Chemtura's stockholders voted to approve the

Transaction;

       WHEREAS, on February 9, 2017, the parties to the Action entered into a Stipulation and

Proposed Order Dismissing Action With Prejudice as to Plaintiff Only and Retaining Jurisdiction

to Determine Plaintiffs Counsel's Application for an Award of Attorneys' Fees and

Reimbursement of Expenses (the "Stipulation of Dismissal"),

       WHEREAS, on February 17, 2017, the Court entered the Stipulation of Dismissal, which

dismissed the Action with prejudice as to Plaintiff only, and without prejudice as to all other

members of the putative class, and retained jurisdiction over the parties for the purpose of

determining Plaintiffs anticipated fee and expense application;

       WHEREAS, after filing the Stipulation of Dismissal, the parties negotiated the terms of an

agreed-upon payment of attorneys' fees and expenses, in the total amount of $250,000 to be paid

to counsel for Plaintiff and counsel for the plaintiff in the matter of Paterson v. Chemtura Corp.,



                                                2
            Case 2:16-cv-06051-ER Document 8 Filed 03/18/17 Page 3 of 4



Case No. 2:16-cv-06626-ER (E.D. Pa.) (the "Paterson Action"), within ten (10) days of the filing

of this Stipulation and a similar stipulation in the Paterson Action, thereby obviating the need for

fee applications to be adjudicated by the Court;

       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

attorneys for the respective parties:

                1.     This matter is fully resolved and no further issues remain in dispute, and the

case file should be closed for all purposes;

               2.      The Court should no longer retain jurisdiction over this matter.

 Dated March 181\ 2017                                   RMLAW,P.C.

                                               By:       /s/ Richard A. Maniskas
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                                                         D. Benjamin, Timothy J. Bernlohr, Anna
                                                         C. Catalano, James W Crownover,
                                                         Robert A. Dover, Jonathan F. Foster, and
                                                         John K. Wulff




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           Case 2:16-cv-06051-ER Document 8 Filed 03/18/17 Page 4 of 4



                                              SKADDEN ARPS SLATE MEAGHER
                                              &FLOMLLP

                                    By:       /s/ Susan L. Saltzstein
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                                              Attorneys for Defendant Lanxess Additives
                                              Inc.


         IT IS SO ORDERED.



Dated:   ?J { '11        '2017
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                                                     United States District   ge




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